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| MAR 25 2025
IN THE UNITED STATES DISTRICT COURT |
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA acts ate aa

A:A5-ev 00 (AG
BELL, JAYLEN DALAINO,
Plaintiff,
V.

WOOD COUNTY (PARKERSBURG), JACKSON COUNTY (RIPLEY), and KANAWHA
COUNTY (Charleston),

Defendants.

COMPLAINT FOR VIOLATION OF PRIVACY, IDENTITY THEFT, AND
CONSTITUTIONAL RIGHTS

INTRODUCTION

Plaintiff BELL, JAYLENDALAINO, by and through this Complaint, alleges the following
against Defendants Wood County (Parkersburg), Jackson County (Ripley), and Kanawha County
(Charleston), collectively, “Defendants”:

1. This action arises from the unauthorized and unlawful acquisition, retention, and use of
Plaintiff's Social Security number (SSN) by Defendants without Plaintiffs consent or
knowledge, in direct violation of federal and state privacy protections and Plaintiff's
constitutional rights.

2. Despite Plaintiff providing valid government-issued identification at the time of arrest or
detention, Defendants improperly obtained and documented Plaintiff’s SSN, which appears in
full and partially redacted in legal paperwork produced by the Defendants.

JURISDICTION AND VENUE

3. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action arises under the United
States Constitution and federal law, including the Privacy Act of 1974.

4. Venue is proper in this Court under 28 U.S.C. § 1391(b) because the wrongful acts described
herein occurred within the Southern District of West Virginia, and Defendants are government
entities operating within this district.
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PARTIES

5. Plaintiff BELL, JAYLEN DALAINO domiciles at 567 Dupont Rd. # 5 Morgantown, West
Virginia 26501.

6. Defendant Wood County (Parkersburg) is a political subdivision of the State of West Virginia,
with its principal offices located in Parkersburg, West Virginia.

7. Defendant Jackson County (Ripley) is a political subdivision of the State of West Virginia,
with its principal offices located in Ripley, West Virginia.

8. Defendant Kanawha County is a political subdivision of the State of West Virginia, with its
principal offices located in Charleston, West Virginia.

FACTUAL ALLEGATIONS

9. Plaintiff was arrested and/or detained by law enforcement in Wood County, Jackson County,
and Kanawha County on seperate occasions.

10. On each occasion, Plaintiff properly identified themselves by providing valid government-
issued identification, including a driver’s license or passport.

11. Despite Plaintiff's compliance with identification requirements, Defendants unlawfully
obtained Plaintiff's Social Security number without Plaintiff's consent or knowledge.

12. Plaintiff discovered that their Social Security number was recorded and appears in full and
partially redacted in legal documents produced by Defendants, constituting a violation of
Plaintiffs privacy and personal security.

13. There is no statutory or legal authority under West Virginia law that permits law enforcement
or prosecuting attorneys to obtain or retain a Social Security number without consent or proper
legal justification when a valid form of identification has already been provided.

14. The unauthorized acquisition and retention of Plaintiff's Social Security number were not
incidental or accidental but demonstrate a deliberate abuse of authority and a violation of
Plaintiffs constitutional and statutory rights.

CAUSES OF ACTION

COUNT ONE — VIOLATION OF THE PRIVACY ACT OF 1974 (5 U.S.C. § 552a)

15. Plaintiff incorporates by reference all preceding paragraphs as if fully stated herein.
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16. Defendants’ unauthorized acquisition and retention of Plaintiff's Social Security number
without consent constitute a direct violation of the Privacy Act of 1974, which restricts the
collection and disclosure of personal information by government agencies.

17. Defendants’ conduct caused Plaintiff significant harm, including loss of privacy, emotional
distress, and exposure to identity theft.

COUNT TWO —- VIOLATION OF FOURTH AMENDMENT RIGHTS (Unlawful Search
and Seizure)

18. Plaintiff incorporates by reference all preceding paragraphs as if fully stated herein.

19. The Fourth Amendment to the United States Constitution protects individuals from
unreasonable searches and seizures.

20. Defendants’ acquisition of Plaintiff’s Social Security number without consent or lawful
authority constitutes an unlawful search and seizure in violation of the Fourth Amendment.

COUNT THREE — VIOLATION OF DUE PROCESS UNDER THE FOURTEENTH
AMENDMENT

21. Plaintiff incorporates by reference all preceding paragraphs as if fully stated herein.

22. The Fourteenth Amendment to the United States Constitution protects individuals from being
deprived of life, liberty, or property without due process of law.

23. Defendants’ acquisition and use of Plaintiff's Social Security number without consent or due
process violated Plaintiff's constitutional rights under the Fourteenth Amendment.

COUNT FOUR — VIOLATION OF WEST VIRGINIA IDENTITY THEFT
PROTECTION ACT (W. Va. Code § 46A-2A-101 et seq.)

24. Plaintiff incorporates by reference all preceding paragraphs as if fully stated herein.

25. The West Virginia Identity Theft Protection Act prohibits the unauthorized collection, use, or
disclosure of personal identifying information, including Social Security numbers.

26. Defendants’ conduct constitutes a direct violation of the West Virginia Identity Theft
Protection Act.

COUNT FIVE — INVASION OF PRIVACY

27. Plaintiff incorporates by reference all preceding paragraphs as if fully stated herein.
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28. Defendants’ unauthorized acquisition and disclosure of Plaintiff's Social Security number
constitute an unreasonable intrusion upon Plaintiff's seclusion and right to privacy.

29. Plaintiff has suffered emotional distress, loss of personal security, and exposure to identity
theft as a result of Defendants’ unlawful conduct.

RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

1. Declare that Defendants’ unauthorized acquisition, retention, and use of Plaintiff's Social
Security number violated Plaintiffs constitutional rights and federal and state privacy laws;

2. Award Plaintiff compensatory and punitive damages in an amount to be determined at trial;

3. Issue injunctive relief prohibiting Defendants from further unauthorized acquisition or use of
Social Security numbers without consent or legal justification;

4, Order Defendants to destroy all records containing Plaintiff’s Social Security number obtained
without consent;

5. Award Plaintiff reasonable attorney’s fees and costs incurred in this action;

6. Grant such other and further relief as this Court deems just and proper.
JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues so triable.

IN FORMA PAUPERIS REQUEST

Plaintiff, being indigent, respectfully requests permission to proceed in forma pauperis pursuant
to 28 U.S.C. § 1915, as Plaintiff is unable to afford the filing fee for this action.

Respectfully submitted,

sue
Hyer Ali,

By: :jaylen:bell.
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Plaintiff Propria Persona

c/o 567 Dupont Rd #5
Morgantown, West Virginia 26501
304.288.8345

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